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ORDER oN ARRAIGNMENT

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f th` s Fd`;l;i::\;;;;:rr:d :)(;i b:half of the ve ent, and the defendant appeared in person an wi
or 1 _

counsel'.
` `<(jo l 90' who is Retained/Appointed.

counsel, waived formal arraignment and entered a plea of not guilty.

NAME

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The defendant, through

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

l/ The defendant, who is not in custody, may stand on his present bond.

_ The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the Custody

of the U.S. Marshal.
w ii jaw/ff

UNITED STATES MAGISTRATE IUDGE

 

CHARGES - 18:922(3)
firearms

Attorney assigned to Case: K. Earley

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UNITED sTATE DISTRIC COUR - WTERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 14 in
case 2:05-CR-20232 Was distributed by faX, mail, or direct printing on
July 14, 2005 to the parties listed.

 

 

Katrina U. Earley

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Ste. 800

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April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

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Honorable Bernice Donald
US DISTRICT COURT

